
COHEN, J.
Carlos Guerra has filed a As we have done in similar cases, we grant Guerra’s petition and remand for a new trial on the attempted second-degree murder charge. See Mendenhall v. State, 82 So.3d 1153 (Fla. 5th DCA 2012); Dill v. State, 79 So.3d 849 (Fla. 5th DCA 2012); Hodges v. State, 64 So.3d 142 (Fla. 5th DCA 2011). We again certify conflict with Williams v. State, 40 So.3d 72 (Fla. 4th DCA 2010), rev. granted, 64 So.3d 1262 (Fla.2011).
PETITION GRANTED; REMANDED for new trial.
PALMER and LAWSON, JJ., concur.
